                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

                                                     X
 PAULO TRINDADE                                      :             Civil Action No.
                                                     :           1:19-cv-10717-ADB
       Plaintiff,                                    :
                                                     :      MEMORANDUM OF LAW IN
       v.                                            :      OPPOSITION TO SECOND
                                                     :        MOTION TO COMPEL
 GROVE SERVICES, INC. and VICTOR SPIVAK              :      DOCUMENT PRODUCTION
                                                     :
        Defendants.                                  :
                                                     :
                                                     X


       Following this Court’s order on July 23, 2020, defendant Grove Services, Inc.

(“Grove”) produced 160 pages of ledgers reflecting approximately 9,000 entries that

make up Grove’s corporate overhead component of the commission calculation in

dispute, 623 pages of supporting “source documents,” consisting of credit card

statements, bank statements and numerous invoices, as well as the other documents

that the Court ordered Grove to produce. In addition, Grove provided redacted

compensation information included in Grove’s overhead, offered un-redacted copies on

an attorneys-eyes only basis, and offered to meet and confer and produce additional

supporting material as identified in the expense ledgers as reasonably identified by

plaintiff’s counsel, which he declined to do.

       Instead, through Plaintiff’s Further Motion To Compel And For Sanctions [Docket

No. 52] (the “Second Motion To Compel”), plaintiff Paulo Trindade (“Trindade”) seeks to

enlist the Court in requiring Grove to produce all supporting material for the expense

ledgers, literally every scrap of expense documentation in Grove’s files, and to produce

documents that were not the subject of any document request served by Trindade, thus


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are being sought for the first time in the Second Motion to Compel. Trindade provides

no explanation as to what additional information he believes will be contained in the

requested copies of 9,000 invoices and receipts for Grove’s expenses, most of which

are reflected in the credit card and bank statements that have already been produced,

or why the proportional burden on Grove to find and produce those duplicative materials

from Grove’s archives is justified by an expected evidentiary benefit. Nor does Trindade

explain why he needs every document underlying Grove’s gross profit for 2015, which

were never requested in his document requests. Instead of waiting to complete the

deposition of Grove’s Rule 30(b)(6) accounting witness to determine the relevance of

any of these additional materials, Trindade has run to court to compel production of

materials to bludgeon Grove with additional discovery and the Second Motion to

Compel should be denied.

                                      Background

      On or about September 24, 2010, Trindade entered into an employment

agreement (the “Agreement”) with Grove to be Grove’s Sales Director for Latin America.

(Declaration of Irwin B. Schwartz In Opposition To Motion To Compel (“Schwartz Decl.”)

Ex. A (Agreement); Amended Complaint [Docket No. 42] ¶¶ 5-6). Under his

employment contract with Grove, Trindade was entitled to a commission “equal to

fifteen percent of the Net Profits attributable to [sales generated and managed by

Trindade] to the extent such Net Profits exceed US$150,000 in the aggregate in any

calendar year.” (Agreement § 4(d)(i)). The term Net Profits is defined as the gross

amount of sales generated by Trindade, minus deductions for costs of goods sold,

corporate overhead, and working capital:

      (ii) For purposes hereof, “Net Profits” shall be calculated by the Company

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       for the relevant calendar year as follows: (a) the gross sales order
       amounts generated and managed by you (tracked by the Company under
       your employee number), minus, (b) the actual costs of goods sold
       attributable to such sales orders, minus (c) all transportation and freight
       charges relating to the transportation of product and all storage charges,
       demurrage charges, insurance and other costs and expenses directly
       relating to such sales orders, minus (d) a proportionate amount of the
       salary, bonus, benefits and other compensation paid to or on behalf of
       employees and consultants, including you, working out of or for the
       Company’s Atlanta office, minus (e) proportionate amount of the
       overhead, costs and expenses of the Company’s Atlanta office and a
       proportionate amount of the overhead, costs and expenses of the
       Company reasonably apportioned to the Company’s Atlanta office, minus
       (f) a proportionate amount of all interest expenses (internal or external)
       calculated as a function of the working capital needs of the Company’s
       Atlanta office, and minus (g) a proportionate amount of a fifteen percent
       (15%) return on the capital investment of the Company in its Atlanta office.

(Agreement § 4(d)(ii) (emphasis in original)). The Agreement gives Grove the right to

classify all costs and calculate proportionate amounts based on any reasonable

allocation method:

       All classifications of costs shall be made by the Company and all
       calculations of proportionate amounts of such costs shall be made by the
       Company in accordance with any reasonable allocation method selected
       by the Company.

(Agreement § 4(d)(iii)).

       On April 15, 2019, Trindade filed his initial complaint against Grove, alleging that

Grove did not pay him the full amount of commission that he was owed for the 2015

year. (Complaint [Docket No. 1] at 9, 12-25). On August 1, 2019, Trindade served his

first request for the production of documents. (Schwartz Decl. Ex. B (“First Document

Requests”)). Grove responded by providing data from its accounting system used to

calculate Trindade’s commission. (Schwartz Decl. ¶ 4).

       Trindade then sent a second set of requests seeking three categories of

documents for Mr. Trindade’s commission calculation. (Schwartz Decl. Ex. C


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(“Second Document Requests”)). Grove responded by providing additional detail

from its accounting system categorizing the expense deductions in Trindade’s

commission calculation, and provided interrogatory responses explaining the

major deductions from Net Profit for Trindade’s 2015 commission calculation.

(Schwartz Decl. ¶ 6).

      After Trindade filed a motion to compel further documents, the Court

ordered Grove to provide “source documents” relating to four specifically

identified customers and Grove’s calculation of the corporate overhead, loss

reserve, and cost of capital deductions used in Trindade’s commission

calculation. [Docket No. 41]. Grove worked diligently to provide information to

satisfy Trindade’s request for “source documents,” had meet and confer calls

with Trindade’s counsel regarding the scope of Grove’s production, and

ultimately produced nearly 800 pages of additional documents, including

expense ledgers and the underlying credit card and bank statements from which

the data in the expense ledgers was obtained. (Schwartz Decl. ¶¶ 7-8).

      On August 20, 2020, Trindade took the deposition of Victor Spivak,

Grove’s president and corporate witness on the Grove business issues identified

in the Rule 30(b)(6) notice. (Schwartz Decl. ¶ 13). A second Grove Rule

30(b)(6) witness, Jason Gordon, will appear on September 22, 2020 to address

the accounting issues identified in the Rule 30(b)(6) notice, who will be prepared

to testify as to the calculation of Trindade’s commission for 2015, the preparation

of the expense ledgers, and numerous other issues that appear to be the basis of

this Second Motion to Compel. (Schwartz Decl. ¶ 13).



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       Nevertheless, without completing the depositions of Grove’s Rule 30(b)(6)

witnesses, on August 31, 2020, Trindade filed his Second Motion To Compel in

which he seemingly seeks compelled production of every document in Grove’s

files for 2015, some of which have never been requested through Trindade’s

document requests.

                                    Argument

       “Parties may obtain discovery regarding any nonprivileged matter that is relevant

to any party's claim or defense and proportional to the needs of the case, considering

the importance of the issues at stake in the action, the amount in controversy, the

parties’ relative access to relevant information, the parties’ resources, the importance of

the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1). As set forth

below, the burden and expense of the additional discovery sought in Trindade’s Second

Motion to Compel greatly outweighs the likely benefit, especially given Grove’s offers to

provide additional information specifically identified by Trindade, and the motion should

be denied.

I.     TRINDADE IS NOT ENTITLED TO ADDITIONAL DOCUMENTS

       The only issue subject to document discovery in this case is the calculation of

Trindade’s commission for 2015. (Electronic Order [Docket No. 41] (granting motion to

amend complaint “with the caveat that no additional written discovery will be permitted

as it relates to the motion to amend.”)). As set forth above, this commission is

calculated as 15% of Net Profits exceeding $150,000. (Agreement § 4(d)(i)) . Net

Profits are calculated by taking Trindade’s gross sales for a year, and making the



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following deductions:

             the actual costs of goods sold attributable to his sales orders;
             all transportation and freight charges relating to the transportation
              of product and all storage charges, demurrage charges, insurance
              and other costs and expenses directly relating to such sales orders;
             a proportionate amount of the salary, bonus, benefits and other
              compensation paid to or on behalf of employees and consultants,
              including you, working out of or for the Company’s Atlanta office;
             a proportionate amount of the overhead, costs and expenses of
              the Company’s Atlanta office and a proportionate amount of the
              overhead, costs and expenses of the Company reasonably
              apportioned to the Company’s Atlanta office;
             a proportionate amount of all interest expenses (internal or
              external) calculated as a function of the working capital needs of
              the Company’s Atlanta office;
             a proportionate amount of a fifteen percent (15%) return on the
              capital investment of the Company in its Atlanta office.
(Agreement § 4(d)(ii)).

       In his Second Motion to Compel, without complying with Local Rule 37.1(b)(4)

requiring the reproduction of particular requests and responses, Trindade seeks four

broad categories of documents: (1) all receipts and invoices for Grove’s over 9,000

overhead expenses in 2015 as reflected in the expense ledgers already produced; (2)

2015 W2 information for Grove’s employees; (3) information on Grove’s gross profits for

2015; and (4) information on Grove’s cost of capital for 2015. As set forth fully below,

the Court should deny Trindade’s Second Motion To Compel because these additional

requests are not proportional to any probative benefit. Grove reasonably offered to

produce additional materials upon identification by counsel – who flatly refused – to

produce additional wage information under attorneys eyes only restrictions – also flatly

refused – and Grove will supplement its production of cost of capital documents and

legal expenses for 2015. Moreover, Trindade never requested documents relating to


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Grove’s gross profits and may not do so for the first time on a motion to compel.

        A.      Trindade Is Not Entitled To Additional Overhead Documents

        In the Second Motion to Compel, Trindade seeks every invoice or receipt for

every Grove expense in 2015. (Second Motion to Compel at 4-6). In response to the

Court’s order to provide the requested “source documents” for 2015, Grove produced

ledgers for 2015 itemizing all expenses included in the overhead calculation, copies of

all of Grove’s credit card bills and bank statements for 2015 (which were entered into

Grove’s accounting system used to track and pay all of Grove’s expenses, and

therefore are the source documents for Grove’s overhead expense), invoices for its

accounting and IT services, and its lease agreements for its office space. (Schwartz

Decl. ¶ 7).1 Grove also offered to meet and confer over any additional individual

invoices or receipts identified on the expense ledgers that Trindade might reasonably

request. (Schwartz Decl. ¶ 8). Trindade rejected this offer and instead demanded

copies of every invoice and/or receipt for each of Grove’s over 9,000 overhead

expenses for 2015. (Schwartz Decl. ¶ 8). There is no proportional benefit for this

extraordinary burden on Grove.

        Indeed, even without the benefit of testimony from Grove’s Rule 30(b)(6)

accounting witnesses, it appears that Trindade is able to identify overhead expenses

that he believes were improperly included in the overhead calculation. (See Motion at

4-5). Nothing in the Second Motion to Compel provides an explanation as to what

additional information Trindade expects to glean from the actual invoices or receipts that


1        Trindade specifically requested all of Grove’s legal invoices for 2015. While Grove initially
withheld these invoices on privilege grounds, Grove will produce the cover page of each invoice that
reflects the matter on which work was performed and the total amount due on each invoice. (Schwartz
Decl. ¶ 9).

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may be in Grove’s files that is not evident from the documents Grove produced. For

example, Trindade points to items from “Bed Bath & Beyond” in the gifts category, but

provides no explanation on how an underlying receipt or invoice will provide any

information relevant to the question of whether this expense was properly included in

the overhead. (See Motion at 4). Grove should not be required to go through the

burdensome exercise of locating and producing over 9,000 invoices or receipts that

would contain information duplicative of what has already been produced, especially

since Grove offered to look for and produce any particular invoice or receipt that

Trindade thinks may be necessary to verify specific overhead expenses, and the

Second Motion to Compel on additional overhead documentation should be denied. 2

        B.      Grove Already Produced Salary Information And Will
                Produce More Detail Under Appropriate Protections

        In the Second Motion To Compel, Trindade argues that Grove did not provide

“detailed salary information” and requests W2 information for all of Grove’s employees

for 2015. (Motion at 6-7). Grove produced all payroll invoices for salaries, a redacted

spreadsheet containing the total salary expense and Trindade’s personal salary

expense, that Grove paid in 2015, and offered to provide an unredacted copy of that

document subject to attorneys’ eyes only protection. (Schwartz Decl. ¶ 10). Although

the information is cumulative to that spreadsheet, Grove will also produce W2s for 2015,

redacting street addresses and social security numbers, subject to attorneys’ only

protection. (Schwartz Decl. ¶ 10). However, Trindade has flatly rejected any request



2        Grove anticipates that a number of the issues relating to Grove’s corporate overhead calculation
that are identified in the Second Motion to Compel will be resolved during the continuation of Trindade’s
deposition of Grove’s Rule 30(b)(6) witness, scheduled to take place on September 22, 2020, and Grove
respectfully requests the right to supplement its opposition with transcripts of that deposition.

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for attorneys’ eyes only protection. (Schwartz Decl. ¶ 11).3

        C.      Grove Will Produce Documents Relating To Its Cost Of Capital

        In the Second Motion to Compel, Trindade seeks documents underlying the

calculation of Grove’s cost of capital that was performed by Grove’s auditors and

contained in Grove’s audited financial statement that has already been produced.

(Second Motion to Compel at 8-9). Since the time that Trindade filed his Second Motion

to Compel, Grove has identified additional documents, including its monthly profit and

loss statements and its monthly balance sheets that contain information underlying its

cost of capital calculation, and has produced these documents on September 14, 2020.

(Schwartz Decl. ¶ 12). Trindade will have the opportunity to explore this calculation and

the significance of these documents with Grove’s accountant at Grove’s Rule 30(b)(6)

deposition on September 22, 2020 and this Court should deny this portion of the

Second Motion to Compel.

        D.      Trindade Never Requested Gross Profit Documents

        In the Second Motion to Compel, Trindade seeks “source documentation

concerning the total gross profit of Grove in 2015” on the grounds that a portion of

Grove’s total gross profit was allocated to Trindade in his commission calculation.

(Motion at 7-8). However, Trindade never requested such documents in either of his

document requests. Indeed, in violation of Local Rule 37.1(b)(4), Trindade’s Second

Motion to Compel fails to set forth the specific document requests under which he seeks


3        Grove requested attorneys’ eyes only protection for individually identifiable wage and salary
information as it seeks to protect its employees’ confidential information to the fullest extent possible and
because Trindade currently works for a Grove competitor. (Schwartz Decl. ¶ 10). Trindade’s response,
made for the first time in the Second Motion to Compel, that attorneys’ eyes only protection would prevent
use of the salary information in deposition and require submission under seal, makes no sense given
such protection typically allows for use at deposition, especially when the witness is Grove’s accountant,
and for submission to court, and Grove has never refused such accommodations. (Schwartz Decl. ¶ 11).

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to compel production. (See Motion at 7-8).

       In his First Document Requests, Trindade requested invoices for certain

customers and “All any all documents used to calculate the Plaintiff Commission

Compensation.” (First Document Requests Nos. 15-17). Grove produced the

spreadsheet it used to calculate Trindade’s entitlement to a commission in 2015, which

included Grove’s calculation of gross profit for 2015. (Schwartz Decl. ¶ 4). As such,

Trindade is not entitled to source documentation on Grove’s gross profits for 2015 under

this request. In his Second Document Requests, Trindade requested source

documents for Grove’s corporate overhead, loss reserve, and cost of capital deductions,

but did not ask for source documents on Grove’s gross profits. (See Second Document

Requests Nos. 2-4). Trindade may not move to compel documents that he never

requested and his motion to compel undefined “source documents” on Grove’s gross

should be denied. Yourga v. Northampton, No. 16-30167-MGM, 2018 WL 4268894, at

*1 (D. Mass. Sept. 6, 2018) (“Because Plaintiff never served a document production

request on the defendants requesting the documents whose production he now seeks

to compel, the court cannot enter an order compelling their production.”).

II.    SANCTIONS ARE INAPPROPRIATE

       Discovery sanctions are only appropriate when a failure to produce documents is

not substantially justified or when a party disobeys a court order on discovery. See Fed.

R. Civ. P. 37(a)(5)(A)(ii) & 37(b). A party who fails to attempt in good faith to resolve a

discovery dispute before bringing a motion to compel is not entitled to sanctions. Fed.

R. Civ. P. 37(a)(5)(A)(i). Nevertheless, after refusing reasonable requests to identify

particular additional documents that might be probative or enter into an attorneys’ eyes



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only protection for sensitive wage information, Trindade seeks sanctions for Grove’s

purported failure to produce documents. (Second Motion to Compel at 9-10).

Sanctions are inappropriate in this case.

       Indeed, as set forth above, following this Court’s Order on July 23, 2020, Grove

produced itemized ledgers for all overhead expenses in the commission calculation

spreadsheet and also produced copies of the credit card bills and bank statements that

were the source of most of those expense items. (Schwartz Decl. ¶ 7). Grove also

produced invoices for payroll, information technology, and accounting services, will

provide invoices for its 2015 legal bills, albeit not the time detail that contains attorney-

client privileged information, and will produce more salary expense detail, including

redacted W2 documents, under appropriate attorneys’ eyes only protection. (Schwartz

Decl. ¶¶ 7-12) Grove should not be sanctioned for failing to produce additional gross

profit documentation that were never sought in Trindade’s two document requests.

       This is not a case in which Grove has sought to “turn discovery into a shell game”

as Trindade claims. (Second Motion to Compel at 9-10). Rather, Grove has produced

voluminous source materials upon which Grove calculated Trindade’s entitlement to

commission for 2015 while seeking to minimize the burden of a more extensive

production through repeated meet and confer efforts, which Trindade has rejected time

and again. Indeed, as demonstrated in this Second Motion to Compel filed even before

Trindade completed the Rule 30(b)(6) deposition of Grove’s accounting witness,

Trindade seeks to maximize the discovery burden on Grove, yet has refused to

cooperate with Grove to identify particular additional materials necessary for this case.




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                                       Conclusion

       Accordingly, Grove respectfully requests that this Court deny Trindade’s Second

Motion to Compel.



Dated: September 14, 2020                        Respectfully Submitted,

                                                 Grove Services, Inc. and Victor Spivak

                                                 By their attorneys,


                                                 _/s/ Irwin B. Schwartz______________
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                                 Certificate of Service

        I, Irwin B. Schwartz, as attorney for defendants Grove Services, Inc. and Victor
Spivak, hereby certify that on this 14th day of September 2020, I filed the foregoing
document with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to all counsel of record.
.

                                         /s/ Irwin B. Schwartz_____________
                                         Irwin B. Schwartz




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